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                                                                                        JS-6
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  7                               UNITED STATES DISTRICT COURT
  8                             CENTRAL DISTRICT OF CALIFORNIA
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 10    BLAKE WOLF,                                   Case No. 8:19-cv-00201-DOC-JDE
 11                      Plaintiff,                  ORDER ON JOINT STIPULATION TO
                                                     STAY PROCEEDINGS PENDING
 12            v.                                    ARBITRATION [11]
 13
       AMERICAN CREDIT ACCEPTANCE,
 14    LLC,
 15                      Defendant.
 16

 17                  ORDER ON JOINT STIPULATION TO STAY PROCEEDINGS
 18                               PENDING ARBITRATION

 19           THIS CAUSE came before the Court for consideration of the Joint Stipulation to Stay

 20   Proceedings Pending Arbitration (the "Joint Stipulation") filed by the parties. Based on the Joint

 21   Stipulation and the agreement of the parties, it is hereby ORDERED:
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              1.     The Joint Stipulation is GRANTED.
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              2.     This action and all deadlines shall be stayed pending the parties’ completion of
 24
      arbitration.
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              3.     Plaintiff shall submit his claims to binding arbitration, as required by the parties’
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 27   arbitration agreement.

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  1          4.      The parties may issue any necessary subpoenas from this Court to non-parties
  2   pursuant to Rule 45 during the pendency of the arbitration proceeding.
  3
             5.      Should the parties resolve this dispute, the parties shall file a joint notice of dismissal
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      promptly thereafter.
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             DONE AND ORDERED on February 21, 2019
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                                                     DAVID O. CARTER
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                                                     UNITED STATES DISTRICT JUDGE
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